           Case 23-03037 Document 55 Filed in TXSB on 05/03/23 Page 1 of 3
                                                                                           United States Bankruptcy Court
                                                                                                   Southern District of Texas

                                                                                                      ENTERED
                                                                                                      May 01, 2023
  UNITED STATES BANKRUPTCY COURT                                       SOUTHERN DISTRICTNathan Ochsner, Clerk
                                                                                         OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

           Division                Southern            Adversary Case Number            23-03037
                               Connecticut Sandy Hook Families*
                                                     versus
                  Alexander E. Jones and Free Speech Systems, LLC

  This lawyer, who is admitted to the State Bar of                 Oklahoma                    :

                         Name                            Deric J. McClellan
                         Firm                            Crowe & Dunlevy
                         Street                          222 N. Detroit, Suite 600
                   City & Zip Code                       Tulsa, OK 74120
                      Telephone                          (737) 218-6187
                                                         OBA #32827
               Licensed: State & Number

  Seeks to appear as the attorney for this party:

                                          Alexander E. Jones

   Dated: 04/17/2023                       Signed: /s/ Deric J. McClellan




   COURT USE ONLY: The applicant’s state bar reports their status as:                Active               .


   Dated: 05/01/2023                       Signed: /s/ Z. Compean
                                                          Deputy Clerk


                                                      Order


                                     This lawyer is admitted pro hac vice.

  Dated:
              August
              May     02, 2019
                  01, 2023                                    United States Bankruptcy Judge



 &RQQHFWLFXW6DQG\+RRN)DPLOLHVDUH'DYLG:KHHOHU)UDQFLQH:KHHOHU-DFTXHOLQH%DUGHQ0DUN%DUGHQ1LFROH
+RFNOH\,DQ+RFNOH\-HQQLIHU+HQVHO'RQQD6RWR&DUOHH6RWR3DULVL-LOOLDQ6RWR0DULQR:LOOLDP$OGHQEHUJ
:LOOLDP6KHUODFK5REHUW3DUNHUDQG5LFKDUG0&RDQDVFKDSWHUWUXVWHHIRUWKHHVWDWHRI(ULFD/DIIHUW\
                       Case 23-03037 Document 55 Filed in TXSB on 05/03/23 Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
Wheeler,
       Plaintiff                                                                                                       Adv. Proc. No. 23-03037-cml
Jones,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: May 01, 2023                                               Form ID: pdf002                                                           Total Noticed: 17
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 03, 2023:
Recip ID                   Recipient Name and Address
dft                        Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
pla                    +   Carlee Soto-Parisi, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Carlos M. Soto, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   David Wheeler, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Donna Soto, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Francine Wheeler, Cain & Skarnulis PLLC, Ryan E. Chapple, 303 Colorado Street,, Suite 2850 Austin, TX 78701-4653
dft                    +   Free Speech Systems, LLC, c/o Law Offices of Ray Battaglia, PLLC, 66 Granburg Circle, San Antonio, TX 78218-3010
pla                    +   Ian Hockley, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Jacqueline Barden, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Jennifer Hensel, 303 Colorado Street, Suite 2850, Suite 2850, Austin, TX 78701-4653
pla                    +   Jillian Soto Marino, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Mark Barden, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Nicole Hockley, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Richard M. Coan, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   Robert Parker, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   William Aldenberg, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
pla                    +   William Sherlach, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653

TOTAL: 17

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 03, 2023                                            Signature:           /s/Gustava Winters
                     Case 23-03037 Document 55 Filed in TXSB on 05/03/23 Page 3 of 3
District/off: 0541-4                                               User: ADIuser                                                        Page 2 of 2
Date Rcvd: May 01, 2023                                            Form ID: pdf002                                                    Total Noticed: 17

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 1, 2023 at the address(es) listed below:
Name                             Email Address
Christina Walton Stephenson
                                 on behalf of Defendant Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                                 elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Ryan E Chapple
                                 on behalf of Plaintiff Carlee Soto-Parisi rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Richard M. Coan rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Mark Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Ian Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Donna Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff William Sherlach rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff David Wheeler rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff William Aldenberg rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Jennifer Hensel rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Carlos M. Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Jacqueline Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Francine Wheeler rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Nicole Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Jillian Soto Marino rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                 on behalf of Plaintiff Robert Parker rchapple@cstrial.com aprentice@cstrial.com

Shelby A Jordan
                                 on behalf of Defendant Alexander E. Jones cmadden@jhwclaw.com

Vickie L Driver
                                 on behalf of Defendant Alexander E. Jones Vickie.Driver@crowedunlevy.com
                                 elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com


TOTAL: 18
